
*318OPINION.
Van Fossan:
The above findings of fact establish conclusively that petitioner was an independent contractor and not an officer gr employee of a State or a political subdivision thereof. That he *319was not an officer was inferentially admitted by petitioner’s counsel. He took no oath of office, bis employment was by contract and for no fixed term. See Metcalf &amp; Eddy v. Mitchell, 269 U. S. 514.
We believe it equally clear that he was not an employee of the State within the meaning of that term as used in the revenue acts. As stated by the Civil Service Commission in the letter quoted in the findings of fact, the services rendered were of a “ professional, scientific, technical, or of an occasional and exceptional character.” He was free to accept and did accept other employment. He maintained an office in New York from which he submitted his claims for services. He employed and paid with his own funds numerous assistants. He was free to use his own judgment and discretion in the work. In fact, the very term “ consulting engineer ” by which he was designated, implies an independence of control that is inconsistent with the relation of employer and employee. Each job of work was made the subject of a separate contract and all the terms and conditions of his employment were contained in the contracts so entered into. There was no continuity of employment from one position to the other and the tenure and duration of his employment were governed by the contracts and not by law. The facts in the case bring it clearly within the rule as laid down in Metcalf &amp; Eddy v. Mitchell, supra. See, also, A. C. Kreipke, 7 B. T. A. 777; affd., 32 Fed. (2d) 594; Robert G. Gordon, 5 B. T. A. 1047; Frank H. Mesce v. United States, 64 Ct. Cls. 481; certiorari denied, 278 U. S. 612; Blair v. Byers, 35 Fed. (2d) 326.
Reviewed by the Board.

Decision will be entered for the respondent.

